                           UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE

AVERAGE JOE’S ENTERTAINMENT                   )
GROUP, LLC,                                   )
        Plaintiff,                            )      3:16-cv-03294
v.                                            )      DISTRICT JUDGE MCCALLA
                                              )      MAGISTRATE JUDGE BROWN
SOUNDCLOUD, LTD.,                             )
SOUNDCLOUD, INC., and                         )
SOUNDCLOUD OPERATIONS, INC.                   )
       Defendants.                             )

 SUPPLEMENTAL RESPONSE IN OPPOSITION TO SOUNDCLOUD DEFENDANTS’
       MOTION FOR AWARD OF ATTORNEY’S FEES AND FULL COSTS

          In further support of its Response in Opposition to SoundCloud, Ltd., SoundCloud, Inc.,

and SoundCloud Operations, Inc.’s (collectively “SoundCloud”) Motion for Award of Attorney’s

Fees and Full Costs and Supporting Memorandum (Dkt. 160 – 164) Plaintiff Average Joe’s

Entertainment Group, LLC, (“AJE”) respectfully states the following:

                                        INTRODUCTION

          SoundCloud prevailed on summary judgment, but nothing in the record indicates that AJE

acted unreasonably or with ill will in bringing what it believed to be valid infringement claims

regarding the use and exploitation of its copyrighted content on and through SoundCloud’s digital

platform. Nor were AJE’s claims brought in bad faith or with improper motive. While SoundCloud

argues to the contrary, AJE’s case hinged on whether SoundCloud had a license to exploit AJE’s

digital content and, if so, the scope of that license. Despite the Court finding that AJE

misunderstood how SoundCloud exploited AJE’s content, how SoundCloud’s premium

subscription service was distinguishable from the content it provided to the public for free, and

which agreement governed SoundCloud’s use of AJE’s copyrighted content, AJE’s litigation

position still had a reasonable basis in law and in fact. As a result, SoundCloud is not entitled to


0110932
  Case 3:16-cv-03294 Document 198 Filed 04/16/19 Page 1 of 11 PageID #: 6197
an award of fees as a matter of course. This litigation is not a case in which awarding attorneys’

fees is necessary to deter overly-aggressive assertions of copyright infringement1, and no evidence

exists to support the assertion that AJE’s claims were frivolous or unreasonable, even though AJE

was ultimately unsuccessful on summary judgment. Finally, nothing in the record suggests that

AJE pursued this litigation for reasons inconsistent with the purpose of the Copyright Act. The

Copyright Act does not grant an award of attorneys’ fees as a matter of right and, as a result,

SoundCloud’s motion for attorneys’ fees and costs in the amount of $2,895,440.50 million should

be denied.

                                              BACKGROUND

          This case arose when AJE discovered that SoundCloud was using AJE’s copyrighted

content in a manner that AJE believed exceeded the scope of the parties’ agreement. When AJE

began its relationship with SoundCloud, and at all relevant times thereafter, AJE made clear that

it had no desire to monetize its content on the SoundCloud platform unless it reached an agreement

with SoundCloud to do so. This is evidenced by: AJE’s express statements that it did not wish to

participate in SoundCloud’s 2014 monetization model, which would have resulted in ad placement

on AJE’s content (Dkt. 113, SUMF 250-256) and, particularly, the absence of any commercial

agreement between the parties with respect to SoundCloud’s launch of a premium subscription

service, which would have allowed AJE to monetize its content through exclusive access to

premium subscribers.




1
  In fact, the record in this matter demonstrates that SoundCloud, not AJE, was overly aggressive from inception
including multiple amendments of academic declaratory judgment claims that overlapped in their entirety with AJE’s
claims against SoundCloud, motions to dismiss for forum non-conveniens and unnecessary and cumulative
depositions. SoundCloud’s litigation conduct is even more bewildering if, as SoundCloud asserts, the issue of
calculating works infringed for purposes of statutory damages were so clear.


0110932
  Case 3:16-cv-03294 Document 198 Filed 04/16/19 Page 2 of 11 PageID #: 6198
          After the launch of SoundCloud’s subscription service in 2016, AJE was shocked to learn

its content was available to premium subscribers for tethered downloads, which was not a feature

available to any user prior to the introduction of the subscription service. What troubled AJE was

not that its content was available for streaming, as such feature had already been publicly available

for free for several years. Rather, it was that SoundCloud’s premium – i.e. paying – subscribers

could download AJE’s content through tethered downloads, which allowed for offline

performance of AJE’s copyrighted works. AJE learned that, so long as a user continued to pay the

monthly fee to SoundCloud, downloads of AJE’s content would remain on the user’s external

device for offline listening but, if the user ceased paying the monthly fee to SoundCloud, the

downloaded recording would expire and be removed from the user’s device. This suggests that,

while AJE’s content was not exclusive to the premium service (since the parties never executed a

commercial agreement), at least some benefit existed to paying subscribers by having

uninterrupted access to the tethered download of AJE’s content so long as they continued paying

for the service. This feature did not exist before the 2016 launch of the subscription service and

forms, in part, AJE’s basis for believing that SoundCloud engaged in copyright infringement

and/or monetized AJE’s copyrighted works. Moreover, SoundCloud’s unwillingness to produce

certain materials requested in discovery made the process of resolving the scope of the license at

issue more difficult.

          At the time, AJE was not aware that it purportedly had the ability to exercise any control

over this new feature, especially since it did not have a commercial agreement with SoundCloud

for the premium service. In light of this, AJE believed that, by providing a platform for its users

to access and perform AJE’s works in a manner not previously contemplated or agreed upon,

SoundCloud was infringing AJE’s copyrighted works. As a result, AJE initiated this lawsuit.




0110932
  Case 3:16-cv-03294 Document 198 Filed 04/16/19 Page 3 of 11 PageID #: 6199
          AJE understands that the Court is well aware of the procedural history in this case. For the

reasons stated in AJE’s Motion for Leave to File Supplemental Opposition to Defendants’ Motion

for Award Attorney’s Fees and Full Costs and Supporting Memorandum, filed concurrently

herewith, AJE respectfully asks the Court to consider this Supplemental Response as further

support for its Opposition to SoundCloud’s Motion for Award of Attorney’s Fees and Full Costs

(Dkt. 160 - 164).

                                              ARGUMENT

I.        Legal Standard

          SoundCloud moved for attorney’s fees under 17 U.S.C. § 505 of The Copyright

Act, which states:

          In any civil action under this title, the court in its discretion may allow the recovery
          of full costs by or against any party other than the United States or an officer
          thereof. Except as otherwise provided by this title, the court may also award a
          reasonable attorney’s fee to the prevailing party as part of the costs.

17 U.S.C. § 505 (emphasis added). Attorney fees are not awarded in copyright cases as a matter

of course. Fogerty v. Fantasy, Inc., 510 U.S. 517, 533-34, 114 S. Ct. 1023, 127 L. Ed. 2d 455

(1994). “[A]ttorney's fees are to be awarded to prevailing parties only as a matter of the court’s

discretion.” Id. at 534.

          “The discretion to grant attorney fees in copyright infringement cases is to be exercised in

an evenhanded manner with respect to prevailing plaintiffs and prevailing defendants, and in a

manner consistent with the primary purposes of the Copyright Act, 17 U.S.C.S. § 101 et seq.”

Bridgeport Music, Inc. v. Yella Muzick, 99 Fed. Appx. 686, 688, 2004 U.S. App. LEXIS 10602,

*1, Copy. L. Rep. (CCH) P28, 828. Several nonexclusive factors may be considered when

deciding whether to award fees to prevailing parties, so long as the factors “are faithful to the

purposes of the Copyright Act and are applied to prevailing plaintiffs and defendants in an



0110932
     Case 3:16-cv-03294 Document 198 Filed 04/16/19 Page 4 of 11 PageID #: 6200
evenhanded manner.” Id. Those factors include: frivolousness, motivation, objective

reasonableness (with respect to both factual and legal components) and the need in particular

circumstances to advance considerations of compensation and deterrence. Id.

II.       Objective Reasonableness of Claims is Given Substantial Weight in Fee Award
          Considerations.

          While prevailing plaintiffs and defendants are to be treated evenly when considering an

award of attorneys’ fees in a copyright infringement action, and the Sixth Circuit has set forth

several factors to consider when assessing such fee awards under § 505, the Supreme Court has

held that courts are to give “substantial weight to the objective reasonableness of the losing party’s

position.” Kirtsaeng v. John Wiley & Sons, Inc., 136 S. Ct. 1979, 1983 (2016)(emphasis added).

This is because a party should not be penalized where it advances reasonable arguments in support

of its claims which later turn out to be unsuccessful. See id. Indeed, although not the case here,

courts may deny fees even where the losing party makes unreasonable arguments. See id.; Fogerty,

510 U.S. 517.

          a.     AJE’s Litigation Position Was Objectively Reasonable

          Analyzing a fee award in this case requires consideration of AJE’s legal and factual bases

for bringing its claims against SoundCloud, which reveal AJE’s objectively reasonable litigation

position and should preclude an award of fees and costs to SoundCloud. The issue of liability

should not be confused with the issue of reasonableness here: whether AJE was successful in

proving SoundCloud engaged in copyright infringement and whether AJE made serious arguments

in furtherance of its claims are two distinct questions. See Kirtsaeng, 136 S. Ct. at 1988. Moreover,

AJE’s position on the calculation of statutory damages based on the number of works infringed

that maintain their own separate economic value and copyright is consistent with federal law, as a

circuit split currently exists on this issue.



0110932
  Case 3:16-cv-03294 Document 198 Filed 04/16/19 Page 5 of 11 PageID #: 6201
          The U.S. Courts of Appeals are split in determining what constitutes a
          "compilation" or "one work" for purposes of statutory damages. The Second and
          Fourth Circuits follow a strict "registration determinative" test which more strictly
          follows the language of the statute. Under this test, only one statutory damages
          award is available per compilation. The First, Ninth, Eleventh, and D.C. Circuits
          employ a "separate economic value test," which allows a plaintiff to receive
          multiple statutory damages awards if part of the compilation copied "has an
          independent economic value and is, in itself, viable." The Tenth Circuit has not
          addressed this issue.

Energy Intelligence Grp., Inc. v. CHS McPherson Refinery, Inc., 300 F. Supp. 3d 1356, 1369-1370

(D. Kan. 2018).

          Although AJE’s claims did not ultimately amount to a finding of infringement, its position

was nonetheless reasonable; particularly based on (i) AJE’s understanding of how SoundCloud

was exploiting AJE’s content and (ii) AJE’s lack of awareness regarding the extent of control it

allegedly possessed over all of SoundCloud’s users’ access to certain content – including premium

subscribers – and considering AJE made SoundCloud aware from the onset of parties’ relationship

that AJE had no desire to monetize its content on the SoundCloud platform through commercial

exploitation. See Fogerty v. MGM Group Holdings Corp., 379 F.3d 348, 357, 2004 U.S. App.

LEXIS 15901, *24, 2004 FED App. 0256P (6th Cir.), 16, 71 U.S.P.Q.2D (BNA) 1820, 1826,

Copy. L. Rep. (CCH) P28, 839 (“While plaintiffs’ claim ultimately proved meritless, that does not

make it ‘objectively unreasonable’ as a matter of law or fact.”).

          This is not a case where AJE vigorously asserted an objectively unreasonable litigation

position and all factors weigh against AJE. See BMG Rights Management (US), LLC v. Cox

Communications, Inc., 2017 U.S. Dist. LEXIS 21001 (E.D. Va. Feb. 14, 2017) (Awarding plaintiff

$25 million in fees (later reduced) upon finding defendant’s defenses objectively unreasonable and

that all factors weighed against defendants in fee analysis). Instead, this is a case where AJE had

a bona-fide belief that SoundCloud was infringing AJE’s copyrights, based on its understanding




0110932
  Case 3:16-cv-03294 Document 198 Filed 04/16/19 Page 6 of 11 PageID #: 6202
of the scope of the parties’ agreement and the functionality features offered to premium subscribers

as an inducement to subscribe, including tethered downloads. Indeed, upon learning that all of its

content was capable of being performed by way of tethered downloads, AJE contacted all co-

owners of the musical compositions at issue to confirm whether those owners had granted a

separate license to SoundCloud in connection with those works, which they had not. AJE’s conduct

underscores the lack of improper motive and highlights AJE’s good faith. Punishing AJE for its

reasonable position by awarding fees to SoundCloud does not further the purposes of the Copyright

Act. See Matthew Bender & Co. v. West Publ'g Co., 240 F.3d 116, 122 (2d Cir. 2001) (“The

imposition of a fee award against a copyright holder with an objectively reasonable litigation

position will generally not promote the purposes of the Copyright Act.”).

          Notably, “not all unsuccessful litigated claims are objectively unreasonable.” CK Co. v.

Burger King Corp., No. 92 Civ. 1488(CSH), 1995 U.S. Dist. LEXIS 823, 1995 WL 29488, at *1

(S.D.N.Y. Jan. 26, 1995). This case – and AJE’s reasonable conduct – is comparable to and/or

even more reasonable than to a number of cases across all circuits addressing the issue of objective

reasonableness of a losing party’s position when faced with a fee claim under § 505 where fee

awards were not granted.

          In Reinhardt v. Wal-Mart Stores, Inc., the District court denied defendants’ motion for

attorneys’ fees, finding that plaintiff’s action for copyright infringement (based upon defendants’

alleged use of plaintiff’s musical compositions in digital format without his permission) was not

“objectively unreasonable,” plaintiff did not act in “bad faith” or with “improper purpose,” and

“goals of compensation and deterrence” did not warrant award of attorneys’ fees. Reinhardt v.

Wal-Mart Stores, Inc., No. 07-8233, 2008 U.S. Dist. LEXIS 52554 (S.D.N.Y. July 10, 2008).

There, Plaintiff, former member of rock band The Ramones, licensed rights to certain




0110932
  Case 3:16-cv-03294 Document 198 Filed 04/16/19 Page 7 of 11 PageID #: 6203
compositions to defendants pursuant to agreement between parties. Id. Plaintiff subsequently sued

defendants, alleging his copyright was infringed by defendants’ exploitation of his compositions

in digital format, in violation of parties’ agreement. Id. The court dismissed plaintiff’s action for

copyright infringement on ground that plain language of contract authorized defendants’ digital

uses of plaintiff’s compositions. Id. Defendants then moved for attorneys’ fees, arguing that

plaintiff’s claim was factually and legally unreasonable and, moreover, legal fees were necessary

for compensation and deterrence against this “unreasonably litigious” plaintiff. Id. Rejecting

defendants’ arguments, the court found that, although underlying contract was clear and

unambiguous, plaintiff's claims were not objectively unreasonable. Id. Further, because plaintiff

did not act in bad faith, with improper motivation, or objectively unreasonably, goals of

compensation and deterrence did not support award of attorneys' fees, regardless of plaintiff’s

alleged litigious nature. Id.

          In Bridgeport Music, Inc. v. Yella Muzick, the Sixth Circuit affirmed denial of attorneys’

fees award against plaintiffs who continued to litigate the matter in preparation for trial (until

losing on summary judgment) even in the face of discovering an express license granting the very

rights plaintiff alleged defendants had infringed. Bridgeport Music, Inc. v. Yella Muzick, 99 Fed.

Appx. 686, 694-695, 2004 U.S. App. LEXIS 10602, *22-23, Copy. L. Rep. (CCH) P28, 828.

          In Fogerty, the Sixth Circuit reversed an award of attorneys’ fees against plaintiffs even

where plaintiffs’ claims were found to be devoid of merit and summary judgment had been entered

in favor of defendants. Fogerty v. MGM Group Holdings Corp., 379 F.3d at 357.

          In Thoroughbred Software Int'l, Inc. v. Dice Corp., where plaintiff successfully sued

defendants for copyright infringement for copying plaintiff’s software, the district court denied

any fee award because the defense position was not frivolous or objectively unreasonable,




0110932
  Case 3:16-cv-03294 Document 198 Filed 04/16/19 Page 8 of 11 PageID #: 6204
defendants lacked improper motivation, and declining to award attorney’s fees in this case was not

inconsistent with the primary objective of the Copyright Act. Thoroughbred Software Int'l, Inc. v.

Dice Corp., 529 F. Supp. 2d 800, 801, 2007 U.S. Dist. LEXIS 95840, *1. See also Seltzer v. Green

Day, Inc., 725 F.3d 1170, 1181 (9th Cir. 2013)(Although plaintiff was unsuccessful on its

copyright infringement claim, “[t]here is simply no reason to believe that [plaintiff] ‘should have

known from the outset that [its] chances of success in this case were slim to none.’”); Action Tapes,

Inc. v. Mattson, 462 F.3d 1010, 1014 (8th Cir. 2006) (finding the district court did not abuse its

discretion in denying an attorneys’ fee award); Hartman v. Hallmark Cards, Inc., 833 F.2d 117,

123 (8th Cir. 1987) (affirming determination to not award fees when the district court found the

plaintiff had not acted in bad faith and that her complaint was colorable and not baseless); Janik v.

SMG Media, Inc., 2018 U.S. Dist. LEXIS 4567, *17, Copy. L. Rep. (CCH) P31, 209, 2018 WL

345111 (“A plaintiff’s failure to prevail on a particular claim does not necessarily render his

position unreasonable.”); Viva Video, Inc. v. Cabrera, 9 Fed. Appx. 77, 80, 2001 U.S. App. LEXIS

10998, *8 (Plaintiff’s “inability to substantiate any of its allegations certainly could have led the

District Court to award fees; but that inability does not as a matter of law require an award of fees,

given the court's finding that [plaintiff's] action had some support at the time it was initiated.”).

          In light of the substantial weight provided objective reasonableness, and AJE’s litigation

position as described herein, AJE respectfully submits that its claims, while unsuccessful, had a

reasonable basis in law and in fact. Accordingly, AJE respectfully requests that the Court deny

SoundCloud’s application for over $2.8 million in attorneys’ fees.

                                       IV.     CONCLUSION

          AJE maintained an objectively reasonable litigation position in pursuing what it truly

believed were valid claims of copyright infringement and should not be punished with a fee award




0110932
  Case 3:16-cv-03294 Document 198 Filed 04/16/19 Page 9 of 11 PageID #: 6205
in excess of $2.8 million simply because it was unsuccessful in asserting its claims against

SoundCloud. Considering the lack of any bad faith, improper motive, overaggressive tactics, and

frivolousness on behalf of AJE, a fee award against AJE in this matter is not warranted.

          In the alternative, should the Court determine that SoundCloud is entitled to recovery of its

attorneys’ fees, AJE respectfully submits that such award should be significantly reduced to

account for market rates in this District multiplied by a number of hours a reasonable attorney or

attorneys (not a team of 24, see Dkt. 161, pp. 18-19) would have spent litigating this case, as well

as a reduction in the unnecessary costs SoundCloud seeks to recover (e.g. $37, 289.82 for a

“graphics consultant” Dkt. 161, p. 24). SoundCloud is misguided in its presumption that it is not

only entitled to fees, but also permitted to calculate the fee total utilizing exorbitant rates that far

exceed what is reasonable in this district, multiplied by an excessive number of hours of work, and

including substantial and unreasonable costs. As a result, AJE respectfully submits that any grant

of fees should be considerably less than what SoundCloud seeks to be awarded and reduced to an

amount that is “reasonable,” as required by 17 U.S.C. § 505.



                                         Respectfully submitted,


                                         /s/ Chris L. Vlahos
                                         Chris L. Vlahos (BPR No. 20318)
                                         Jenna L. Harris (BPR No. 31150)
                                         Ritholz Levy Fields LLP
                                         1221 6th Avenue North
                                         Nashville, TN 37208
                                         cvlahos@rlfllp.com
                                         jharris@rlfllp.com

                                         Counsel for Average Joe’s Entertainment Group, LLC.




0110932
 Case 3:16-cv-03294 Document 198 Filed 04/16/19 Page 10 of 11 PageID #: 6206
                                 CERTIFICATE OF SERVICE

        I hereby certify that on the 8th day of February 2018, I will electronically file the foregoing
with the Clerk of Court using the CM/ECF system, which will then send a notification of such
filing (NEF) to the following:

Andrew P. Bridges
Fenwick & West LLP
801 California Street
Mountain View, CA 94041
(650) 988-8500
Fax: (650) 938-5200
Email: abridges@fenwick.com

Ciara N. McHale
Fenwick & West LLP (San Francisco Office)
555 California Street
12th Floor
San Francisco, CA 94104
(415) 875-2300
Fax: (415) 281-1350
Email: cmchale@fenwick.com

Guinevere L. Jobson
Fenwick & West LLP (San Francisco Office)
555 California Street
12th Floor
San Francisco, CA 94104
(415) 875-2300
Fax: (415) 281-1350
Email: gjobson@fenwick.com

Richard G. Sanders , Jr.
Aaron & Sanders PLLC
605 Berry Rd.
Suite A
Nashville, TN 37204
(615) 734-1188
Fax: (615) 250-9807
Email: rick@aaronsanderslaw.com

Counsel for SoundCloud, Ltd.


                                               /s/ Chris L. Vlahos



0110932
 Case 3:16-cv-03294 Document 198 Filed 04/16/19 Page 11 of 11 PageID #: 6207
